Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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Case:22-00354-11 Doc#:1 Filed:02/15/22 Entered:02/15/22 14:18:42   Desc: Main
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